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       'LOOHU0DWWKHZ )RUGKDP/DZ6FKRRO'HDQ 
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       'XSX\(ORGLH PHQWHH 
       (OOLRWW-XVWLQ IRUPHUFROOHDJXH
       )OLFNHU%ODLU IULHQG
       )OLFNHU5RELQ IULHQG 
       )RJJ:LOOLDP IULHQG
       *DUWQHU6WHYHQ IRUPHUFROOHDJXH
       *ROGVWHLQ(ULF IRUPHUFROOHDJXH
       *UHHEHO5REHUW IULHQG
       *ULIILQ&OLII %DUPDQ*ULIILQ'LD IULHQGV
       *UXPEDFK1LFKRODV IULHQG 
       *XHUFLR0DWWKHZ IRUPHUFROOHDJXH
       +DGGDG0DWWKHZ IRUPHUFROOHDJXH 
       +HUQDQGH]5XVVHOO IULHQG 
       -RQHV6KDXQQD IRUPHUFROOHDJXH 
       .DVKNRROL)DKLPHK )RUGKDP/DZVWXGHQW 
       .DVN\5REHUW SUHVLGHQWRIDGRSWLRQDJHQF\ 
       .OXJHU$GDP IULHQG 
       .XW]6WHSKHQ IULHQG 
       /DQGH6KXPDQ5XWK 3XEOLFRORUIRXQGHUDQGSUHVLGHQW 
       /HJJ-DPHV IULHQG 
       /HVVHU'DQLHOOH IULHQG
       /LQGJUHQ'RXJODV IULHQG 
       /RSH].HYLQ IRUPHUFROOHDJXH 
       0DWWLD*HUDUG IULHQG
       0XVPDQG$OOLVRQ IULHQG 
       0XVPDQG)UDVHU IULHQG 
       1XVEDXP-DFN IRUPHUFROOHDJXH
       2XLPHWWH6WDQOH\ UHWLUHGSROLFHRIILFHUDQGIULHQG
       5HLG)UHG IRUPHUFROOHDJXH 
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       6KXIULQ+DUU\ DFFRXQWDQW 
       6RQRGD<XNLR IULHQG 
       6WHOOPDFK:LOOLDP IRUPHUFROOHDJXH
       7ULSOHWW0LNH IULHQG
       :KLWH$QQD IRUPHUFROOHDJXH 
       <RVHORII$QWKRQ\ IULHQG 
                                  /HWWHUV5HJDUGLQJ
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  8QGHU6HDO
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      9LGHR 6XEPLWWHG
      RQ '9' 8QGHU
           6HDO
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   8QGHU 6HDO
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  8QGHU6HDO
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  8QGHU6HDO
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                                                   DŝĐŚĂĞůĞŶĞĚĞŬ
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/ǁƌŝƚĞƚŽǇŽƵƚŽĚĂǇƚŽŽĨĨĞƌŵǇƐƵƉƉŽƌƚŽĨ'ŽƌĚŽŶĂƉůĂŶ͕ǁŚŝĐŚŚĂƐďĞĞŶŝŶĨŽƌŵĞĚŽǀĞƌƚŚĞƉĂƐƚϯϳ
ǇĞĂƌƐ͘  / ƌĞƐŝĚĞ ŝŶ ĂŵďƌŝĚŐĞ͕ DĂƐƐĂĐŚƵƐĞƚƚƐ ǁŝƚŚ ŵǇ ǁŝĨĞ ĂŶĚ ƚǁŽ ĐŚŝůĚƌĞŶ ĂŶĚ Ăŵ ƚŚĞ &ŽƵŶĚĞƌ͕
WƌĞƐŝĚĞŶƚ͕ ĂŶĚ ŚŝĞĨ &ŝŶĂŶĐŝĂů KĨĨŝĐĞƌ ŽĨ >ŝĨĞzŝĞůĚ͕ Ă ĨŝŶĂŶĐŝĂů ƚĞĐŚŶŽůŽŐǇ ĐŽŵƉĂŶǇ ďĂƐĞĚ ŝŶ ŽƐƚŽŶ͘  /
ĂƚƚĞŶĚĞĚŽƐƚŽŶŽůůĞŐĞ>Ăǁ^ĐŚŽŽůĂŶĚĂŵĂŵĞŵďĞƌŽĨƚŚĞDĂƐƐĂĐŚƵƐĞƚƚƐĂŶĚEĞǁzŽƌŬ^ƚĂƚĞďĂƌƐ͘
/ŵĞƚ'ŽƌĚŽŶŝŶϭϵϴϮǁŚĞŶ/ũŽŝŶĞĚŽƵƌŚŝŐŚƐĐŚŽŽů͛ƐƐǁŝŵƚĞĂŵ͖/ǁĂƐĂĨƌĞƐŚŵĂŶĂŶĚ'ŽƌĚŽŶǁĂƐĂ
ũƵŶŝŽƌĂŶĚŽŶĞŽĨƚŚĞƚĞĂŵ͛ƐůĞĂĚĞƌƐ͘/ǁĂƐĂƐŽŵĞǁŚĂƚŶĞƌǀŽƵƐǇŽƵŶŐƚĞĞŶĂŐĞƌ͕ĂŶĚŶŽƚĂƉĂƌƚŝĐƵůĂƌůǇ
ŐŽŽĚƐǁŝŵŵĞƌ͕ďƵƚƚŚĞůĞĂĚĞƌƐŚŝƉŽĨƚŚĞƚĞĂŵ͕ĂŶĚĞƐƉĞĐŝĂůůǇ'ŽƌĚŽŶ͕ŵĂĚĞŝƚĐůĞĂƌƚŚĂƚĂůůǁĞƌĞǁĞůĐŽŵĞ
ŝĨǇŽƵǁĞƌĞǁŝůůŝŶŐƚŽƚĂŬĞƐĞƌŝŽƵƐůǇǇŽƵƌƌĞƐƉŽŶƐŝďŝůŝƚŝĞƐďŽƚŚĂƐƐǁŝŵŵĞƌĂŶĚĂƐĂƐƵƉƉŽƌƚŝǀĞƚĞĂŵŵĂƚĞ͘
dŚĞůĂƚƚĞƌǁĂƐƉĞƌŚĂƉƐƚŚĞŵŽƌĞŝŵƉŽƌƚĂŶƚƌĞƋƵŝƌĞŵĞŶƚĂŶĚŝƚŝŶĐůƵĚĞĚĂƌĞƐƉĞĐƚĨŽƌŽƚŚĞƌƐŶŽŵĂƚƚĞƌ
ŚŝƐŽƌŚĞƌĂďŝůŝƚǇŽƌƐŽĐŝĂůƐƚĂŶĚŝŶŐ͘
'ŽƌĚŽŶǁĂƐĂůĂƌŐĞƉĂƌƚŽĨƉƌŽŵŽƚŝŶŐƚŚŝƐĂƚŵŽƐƉŚĞƌĞ͕ĂŶĚ͕ĂƐĂƌĞƐƵůƚ͕ŝŶŚŝƐƐĞŶŝŽƌǇĞĂƌŚŝƐƉĞĞƌƐĞůĞĐƚĞĚ
Śŝŵ ďŽƚŚ ƚĞĂŵ ĂƉƚĂŝŶ ĂŶĚ ǁŝŶŶĞƌ ŽĨ ƚŚĞ ůƵŵŶŝ ǁĂƌĚ͕ ǁŚŝĐŚ ŝƐ ŐŝǀĞŶ ƚŽ ƚŚĞ ƉĞƌƐŽŶ ǁŚŽ ŵŽƐƚ
ĞǆĞŵƉůŝĨŝĞƐ ƐƚƌŽŶŐ ĂŶĚ ĐŽŵƉĂƐƐŝŽŶĂƚĞ ůĞĂĚĞƌƐŚŝƉ͘  &Žƌ ŵĞ͕ 'ŽƌĚŽŶ ŶŽƚ ŽŶůǇ ĚĞƐĞƌǀĞĚ ƚŚĞƐĞ ŚŽŶŽƌƐ
ďĞĐĂƵƐĞŽĨǁŚĂƚŚĞĚŝĚ͕ďƵƚĂůƐŽďĞĐĂƵƐĞŽĨǁŚĂƚŚĞŝŶƐƉŝƌĞĚ͖ŚĞǁĂƐĂƌŽůĞŵŽĚĞůĨŽƌŵĞĂŶĚƐŽ/ƐŽƵŐŚƚ
ƚŽůĞĂĚĂƐŚĞŚĂĚ͘DƵĐŚŽǁŝŶŐƚŽƚŚŝƐŝƐǁŚǇ/͕ƚŽŽ͕ǁĂƐĞůĞĐƚĞĚĂƉƚĂŝŶŝŶŵǇƐĞŶŝŽƌǇĞĂƌĂŶĚƌĞĐĞŝǀĞĚ
ƚŚĞůƵŵŶŝǁĂƌĚ͘
KǀĞƌ ƚŚĞ ĚĞĐĂĚĞƐ ƐŝŶĐĞ͕ 'ŽƌĚŽŶ ŚĂƐ ĐŽŶƚŝŶƵĞĚ ƚŽ ƉƌŽǀŝĚĞ ŵĞ ƉƌŝŶĐŝƉůĞĚ ĂĚǀŝĐĞ ƚŚĂƚ ŚĂƐ ĐŽŶƐŝƐƚĞŶƚůǇ
ĚĞŵŽŶƐƚƌĂƚĞĚ ƚŚĞ ƵƚŵŽƐƚ ŝŶƚĞŐƌŝƚǇ͘  KŶĞ ŝŶƐƚĂŶĐĞ ŝŶ ƉĂƌƚŝĐƵůĂƌ ĐŽŵĞƐ ƚŽŵŝŶĚ͘  / ŚĂĚ ũƵƐƚ ůĂƵŶĐŚĞĚĂ
ƚĞĐŚŶŽůŽŐǇĐŽŵƉĂŶǇĂŶĚŵĞƚǁŝƚŚ'ŽƌĚŽŶƚŽĚŝƐĐƵƐƐĂǀĞŶƵĞƐĨŽƌƉŽƚĞŶƚŝĂůĨŝŶĂŶĐŝŶŐ͘EŽƚƐƵƌƉƌŝƐŝŶŐůǇ͕
'ŽƌĚŽŶ ŐĞŶĞƌŽƵƐůǇ ŽĨĨĞƌĞĚ ƚŽ ŵĂŬĞ ŝŶƚƌŽĚƵĐƚŝŽŶƐ ƚŽ ƉŽƚĞŶƚŝĂů ŝŶǀĞƐƚŽƌƐ͘  tŚĞŶ / ƐĂŝĚ ƚŚĂƚ / ǁŽƵůĚ
ĐŽŵƉĞŶƐĂƚĞŚŝŵĨŽƌƚŚĞƐĞŝŶƚƌŽĚƵĐƚŝŽŶƐ͕'ŽƌĚŽŶĨůĂƚůǇĂŶĚƐƚĞĂĚĨĂƐƚůǇƌĞĨƵƐĞĚ;ĂŶĚĂĚǀŝƐĞĚƚŚĂƚ/ĂǀŽŝĚ
ĂŶǇƐƵĐŚĂƌƌĂŶŐĞŵĞŶƚƐǁŝƚŚŽƚŚĞƌƐͿ͘ǀĞŶƚŚŽƵŐŚŝƚǁŽƵůĚŚĂǀĞďƌŽƵŐŚƚŚŝŵĂƉĞĐƵŶŝĂƌǇďĞŶĞĨŝƚ͕ŚĞĚŝĚ
ŶŽƚƚŚŝŶŬƚŚĞƌĞƐŚŽƵůĚĞǀĞƌďĞĂŶǇĐŽŶĨƵƐŝŽŶͲĞŝƚŚĞƌďǇŵĞŽƌĂƉŽƚĞŶƚŝĂůŝŶǀĞƐƚŽƌͲĂƐƚŽǁŚǇŚĞǁŽƵůĚ
ďĞŵĂŬŝŶŐƐƵĐŚĂŶŝŶƚƌŽĚƵĐƚŝŽŶ͘dŚŝƐďĞŚĂǀŝŽƌŝƐƌĞƉƌĞƐĞŶƚĂƚŝǀĞŽĨŚŽǁ'ŽƌĚŽŶŚĂƐĐŽŶƐŝƐƚĞŶƚůǇƐŽƵŐŚƚ
ƚŽŚĞůƉŽƚŚĞƌƐĨƌĞĞĨƌŽŵĐŽŶĨůŝĐƚĂŶĚǁŝƚŚŽƵƚŐĂŝŶƚŽŚŝŵƐĞůĨ͘
ƐƚŽƚŚĞŵĂƚƚĞƌĂƚŚĂŶĚ͕ǁŚŝůĞ/ĐĞƌƚĂŝŶůǇŬŶŽǁŚŽǁǁƌŽŶŐ'ŽƌĚŽŶ͛ƐĂĐƚŝŽŶƐǁĞƌĞ͕/ĂůƐŽŬŶŽǁƚŚĂƚǁĞ
ĂƌĞ Ăůů ĨĂůůŝďůĞ͘  / ĚŽ ŶŽƚ ďĞůŝĞǀĞ ƚŚŝƐ ƐŝŶŐůĞ ĞǀĞŶƚ ĂĐĐƵƌĂƚĞůǇ ƌĞƉƌĞƐĞŶƚƐ ƚŚĞ ƉĞƌƐŽŶ ŽĨ ŝŶƚĞŐƌŝƚǇ ʹ ďŽƚŚ
ƉĞƌƐŽŶĂůůǇĂŶĚƉƌŽĨĞƐƐŝŽŶĂůůǇʹ/ŚĂǀĞŬŶŽǁŶĨŽƌĂůŵŽƐƚϰϬǇĞĂƌƐ͖ĂƉĞƌƐŽŶĨŽƌǁŚŽŵƚŚĞƉƌŽďŝƚǇŽĨŚŝƐ
ůĂǁƉƌĂĐƚŝĐĞŚĂƐĂůǁĂǇƐďĞĞŶŝŶƚĞŐƌĂůƚŽŚŝƐĐŽƌĞďĞŝŶŐ͘ůů/ĐĂŶƚŚŝŶŬŝƐƚŚĂƚŚĞŚĂĚĂŵŽŵĞŶƚĂƌǇůĂƉƐĞŽĨ
ũƵĚŐŵĞŶƚ ĚƌŝǀĞŶ ŶŽƚ ďǇ ĂŶǇ ŵĂůŝĐĞ ǁŚĂƚƐŽĞǀĞƌ ƚŽǁĂƌĚƐ ĂŶŽƚŚĞƌ ŚƵŵĂŶ ďĞŝŶŐ͕ ďƵƚ ďǇ Ă ;ŵŝƐŐƵŝĚĞĚ
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Your Honor,

I am writing to you on behalf of Gordon Caplan.

I made Gordon’s acquaintance in approximately 2009 and interacted with him intermittently
throughout the years of 2009-2016 in a work capacity as well as several times in 2019 in a
non-work capacity. I wanted to share my perspective on Gordon because I believe it is a
particularly unique one; Gordon and I worked together on less than half a dozen occasions, and
we did not have a strong direct personal relationship. However, I did have strong direct
friendships with people during the period of 2009-2016 who interacted with Gordon significantly.

Gordon has done me no personal favors. Nor do I anticipate receiving any material help or
favors from him in the future. I have no personal motive to speak well of him but for the fact that
I saw how much good he brought to the lives of others at no benefit to himself, and I believe that
these accounts of his character ought to be brought to light. From the vantage point of someone
who has not benefited from him directly but who has seen his interactions with others, I believe I
have seen his true character.

Here is what I have observed of Gordon Caplan.

I had a friend and co-worker named Joshua Roberts. He was from a middle-class background
and was a volunteer fireman at his local firehouse in Suffern, NY. We began our post-college
careers in 2009 at the same time in an entry-level analyst program at an investment firm, and it
was through that avenue that he and I were both introduced to Gordon Caplan. When Josh
expressed his interest and enthusiasm for pursuing a career in law, Gordon made time in his
busy schedule to mentor him. When Josh was deciding on which law school program to pursue,
Gordon was generous in providing advice to him. And when Josh was graduating and looking
for a new role, Gordon offered him a position at Willkie Farr and Gallagher under his wing.
Gordon had no reason to help a middle-class kid from Suffern, NY try and make it in the world,
but he did it anyway.

My current co-founder, Elodie Dupuy, is also another individual whose life was improved by
Gordon at no benefit to himself. Elodie began as a part-time receptionist and eventually
negotiated her way to a role on the investment team on which Joshua Roberts and I worked.
She, too, met Gordon through our previous employer. She had originally begun her work as a
part-time receptionist as she was waiting to hear back from law schools, and when she
expressed her interest in perhaps one day pursuing a career in the field of law, Gordon made
time for her as well. Elodie was one of many people in an entry-level analyst program at a client
firm. Helping her could net him no discernible profit. He mentored and advised her as she
thought about her career at various junctures, most notably in 2017.
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When Elodie had left our former employer and approached Gordon for advice, he was a fount of
resources and suggestions. In a sector which is often ruled by pedigree – coming from the right
school, with the right GPA, with the right look and way of dress – Gordon was focused on raw
ability and talent. He offered her a position helping to grow Willkie Farr. More importantly, he
shared his observations of her strengths and saw beyond the superficial pedigree and exterior.
In the course of their ensuing discussions, he gave her the confidence that she could start a
venture capital fund of her own. Elodie credits her mentorship and guidance by Gordon as the
tipping point for being willing to set off on the path of starting our own fund.

Gordon has been one of the most active people in a position of privilege and power to champion
for others who may not have come from wealth, or the right college, or have the right pedigree. I
have interacted with many others of similar influence who have done little to nothing at all that
did not provide a direct path to further personal riches or the respect of others of equal power
and position. Having found himself at the top of his industry, Gordon reached out to bring others
up along with him, at no direct benefit for himself and in a manner which made it clear it was not
for show or admiration from others.

I have had a chance to meet with Gordon in the last few weeks. He has expressed immediate
remorse for his actions related to the charges for which he pled guilty. He has taken
unequivocal responsibility for them. He blames nobody but himself and expressed to me that it
was right that he plead guilty immediately and take responsibility for his actions, and that his
one and only goal now would be spending his entire life trying to win back the respect of his
community. Professionally, the ramifications of his actions have been grave. I do not know the
full details, but Willkie Farr – the firm which he spent nearly his entire career building – has
effectively severed its relationship with him. He may be disbarred and never again be allowed to
practice law, the field which he loves and in which he has built his proudest achievements. The
public shame and humiliation both in the media and in his community have been immediate,
harsh, and exacting.

I believe Gordon has displayed true goodness in his actions towards others in the past 10 years
which I’ve known him. I respect his decision to own up to his actions and plead guilty
immediately to the charges upon which he was brought to court. And I believe the punishments
Gordon has suffered have been severe enough – professionally, socially, and personally. In
light of these three things, I would respectfully urge you to consider leniency in his sentencing.



                                                            Sincerely,



                                                              Jessica Davis
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                    The Honourable Judge Indira Talwani
                    U.S. District Judge
                    Joseph Moakley U.S. Courthouse
                    1 Courthouse Way
                    Boston, MA 02210




                                                                                              August 21, 2019

                    Re: Mr. Gordon Caplan


                    Your Honour:

                    I serve on the board of directors of a publicly listed company1 and have previously
                    served three times as CEO. My line of business is helping with distressed operations.

                    I write about one of your defendants, Mr. Gordon Caplan. I have known Mr. Caplan for
                    7 years in a professional capacity, and I believe I have had the opportunity to observe
                    him under especially testing circumstances, due to the nature of my work.

                    I have never had any <nancial tie to Mr. Caplan, or directly to any of his clients, but he
                    has been my key counterpart through some particularly complicated situations
                    involving attempted bribery, management wrongdoing and investor fraud in a foreign
                    jurisdiction. On several occasions I have taken, and caused my senior associates to
                    take, signi<cant personal risk based on Gordon Caplan's trustworthiness and sense of
                    morality, and never had to question the decision.

                    During all the time I have known him, Mr. Caplan has consistently demonstrated
                    outstanding ethics and straight-shooting behaviour, earning admiration from his allies
                    and respect from his adversaries.

                    Understanding the gravity of the charges that the defendant is facing today, I wish to
                    impress upon you that he is otherwise a remarkably upstanding citizen.

                    Sincerely,




                    Maurizio de Franciscis
                    Managing Partner

1   (BVMF: SHOW3)




         Braven Partners | Rua Luis Dias 85, 04542-080 São Paulo, Brazil | www.bravenpartners.com | CNPJ 19.627.449/0001-02
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        :KHQ, ILUVW JRWLQWR<DOH P\SDUHQWVZHUHDVSURXGRIPHDVWKH\KDGHYHUEHHQDQG
UHOLHYHGWKDW,JRWLQWRDVFKRROZLWKJRRGHQRXJKILQDQFLDODLGWKDWWKH\ZRXOGQ¶WKDYHWRDGG
FROOHJHWXLWLRQWRWKHLUOLVWRISRVWUHFHVVLRQZRUULHV
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       ,PHQWLRQHGHDUOLHUWKHGLVPD\,IHOWNQRZLQJWKDWWKH*RUGRQSHRSOHKDYHVHHQLQUHFHQW
PRQWKVLVQRWWKHWUXH*RUGRQWKH*RUGRQ,KDYHNQRZQDQGVHHQ,DVNRQO\WKDWWKHFRXUWVHH
WKLVPDQDV,DQGRWKHUVZKRNQRZKLPGR± DVDGHFHQWFRQVLGHUDWHSHUVRQZLWKDWUDFNUHFRUG
RINLQGQHVVDQGFRPSDVVLRQWREDFNLWXS± ZKRPDGHDPLVWDNH




       %XWZKDWZDVSRWHQWLDOIRUPHWKHQLVDFWXDOIRU*RUGRQQRZ$Q\SXQLVKPHQWRI
VRPHRQHRIKLVFKDUDFWHULQGLUHFWO\SXQLVKHVWKHSHRSOHZKRNQRZKLPDQGEHQHILWHYHU\GD\
IURPWKHSRZHURIKLVH[DPSOH:KDWHYHUMXGJPHQWLVUHQGHUHG,KRSHWKDWWKRVHWRZKRP
*RUGRQKDVPXFKOHIWWRJLYHZLOOEHNHSWLQPLQGDVWKH\QXPEHULQWKHWKRXVDQGV,ZLOOVWDNH
DQ\WKLQJRQWKHVHIDFWVDERXW*RUGRQ&DSODQIRU,DPOLYLQJSURRI
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                                                                                      (ORGLH'XSX\


                                                                                       -XQH


7KH+RQRUDEOH-XGJH,QGLUD 7DOZDQL
860DJLVWUDWH
-RKQ-RVHSK0RDNOH\86&RXUWKRXVH
&RXUWKRXVH:D\
%RVWRQ0$


<RXU+RQRU

,Q)HEUXDU\ DIWHUVXEPLWWLQJP\ODZVFKRRODSSOLFDWLRQV, DFFHSWHGDMREDVWHPSRUDU\
UHFHSWLRQLVWDWDJURZWKHTXLW\ ILUP XQWLOODZVFKRROVWDUWHG WKDWIDOO ,Q $XJXVW/HKPDQ
%URWKHUVOHWJRSHRSOHDQGWKHILUVWVLJQVRI HFRQRPLFFROODSVH VWDUWHGWRVKRZ,GHFLGHGWR
ZDLWRQODZVFKRRODQGZLWKP\268GHJUHHLQ)UHQFKDQG*HUPDQDVNHG WR EHFRPHDQDQDO\VW
RQWKHLQYHVWPHQWWHDPGHVSLWHKDYLQJQRLGHDZKDWVRHYHURIZKDW,ZDVGRLQJ

,PHW*RUGRQVRRQWKHUHDIWHUZKHQZRUNLQJRQP\ILUVWLQYHVWPHQWDQGZDVLPPHGLDWHO\DZHG
E\KLVWDOHQW2YHUWKHQH[WGHFDGH,KDGWKHGLYLQHOXFNRIZRUNLQJZLWK*RUGRQRQVHYHUDOYHU\
FKDOOHQJLQJLQYHVWPHQWV,VD\GLYLQHEHFDXVHWKHVHVLWXDWLRQVZHUH LQFUHGLEO\FRPSOH[DQG
KLJKVWDNHVDQG,FUHGLWDEXONRIP\VXFFHVVWRWKHGHIDFWRDSSUHQWLFHVKLS, JDLQHGIURP
ZRUNLQJZLWK*RUGRQ+HH[FHOVDWVROYLQJFRPSOH[SUREOHPV+HVKRZHGPHWKHUHDUHQR
VKRUWFXWVWRZRUNHWKLFDQGKRZWRNHHSDFRROKHDG ,RVPRVHGKLJKSDFHJDPHWKHRU\DQG
DERYHDOO± ,OHDUQHGWRRSHUDWHLQWKHEODFNZKLWHDQGDYRLGDOOPDQQHURIJUD\WHUULWRU\,ZRQ¶W
KLGHP\DGPLUDWLRQIRU*RUGRQ +HLVWKHPRVWEULOOLDQWDQGHIIHFWLYHODZ\HU,¶YHHYHUPHWDQGLV
WKHPRVWLQVSLUDWLRQDOSHUVRQ ,ORRNXSWR

*RUGRQLVLQFRPSUHKHQVLEO\JRRGDWZKDWKHGRHV DQGK\SHUFRPSHWLWLYH\HWVLQFHUHO\FDULQJ
DYDLODEOHDQGJHQHURXVWRWKRVHLQKLVVSKHUH RILQIOXHQFH +LVPHWHRULFULVHDW:LOONLHLV
XQVXUSULVLQJLQWKHFRQWH[WRIWKHLPSDFWKHKDGIRUKLVFOLHQWVDQGWKHUHIRUHKLVILUP:KLOHKH
ZDVRIWHQFDOOHGLQE\KLVFOLHQWVWRVROYHFRPSOH[SUREOHPVKHZDVUHDOO\FDOOHGupon WRSURWHFW
WKHP+LVNQRZOHGJHRIWKHODZ DQG KXPDQSV\FKRORJ\ DQGKLVNHHQLQWHOOHFWHQDEOHGKLPWR
UHSHDWHGO\ QDYLJDWHLQFUHGLEO\GHOLFDWHVLWXDWLRQV EULQJKLVFOLHQWVWRVDIHW\7KLVSURWHFWLYH
QDWXUHH[WHQGHGEH\RQGKLV FOLHQWV WRDQ\RQHZKRVKRZHGSRWHQWLDO

,ZDVDQXQGHUGRJDWP\ILUP,GLGQ¶WILWWKHPROG RI,Y\/HDJXHXQGHUJUDGHFRQRPLFVGHJUHH
VXPPHULQWHUQVKLS« , GLGQ¶WFRPHIURPWKH ³SURSHU´ SDWK%XWHYHU\FKDQFHKHKDG *RUGRQ
SURWHFWHGPH+HWDONHGPHRXWRIOHDYLQJWKHLQGXVWU\RQ QXPHURXVRFFDVLRQVDQG KHOSHGPH
QDYLJDWHP\ZD\WRVXFFHVVERWKLQWHUQDOO\DQGZLWKP\SRUWIROLRFRPSDQLHV:KHQ,ZDQWHGWR
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7KH+RQRUDEOH-XGJH,QGLUD7DOZDQL
-XQH
3DJH


EX\DKRPHRXWRIIRUHFORVXUH *RUGRQLQWHUYHQHGWRHQVXUH, ZRXOGEHSURWHFWHGLQRXU
SXUFKDVH:KHQP\OLWWOHEURWKHUPDGHDFRVWO\MXGJHPHQWHUURUZKLOHLQVFKRRO*RUGRQVSUXQJ
WRDFWLRQ1RWRQO\GLGKHSURWHFWP\EURWKHUIURPFULSSOLQJFRQVHTXHQFHVRIDQDGROHVFHQW¶V
PLVWDNHKH SURWHFWHGP\SDUHQWVIURPDOLIHWLPHRISDLQ:KHQ,IRXQGP\VHOILQDQXQVROYDEOH
FXOWXUDOPLVPDWFKLQP\ODVWRUJDQL]DWLRQ*RUGRQ QDYLJDWHGPHWKURXJKP\VHSDUDWLRQSURFHVV
DQGHQVXUHG,ZRXOGEHSURWHFWHG DV,JRWEDFNRQP\ IHHW 0RVWLPSRUWDQWO\ZKHQ,FRQVLGHUHG
MRLQLQJDQHZILUP*RUGRQSXVKHG PHWRVWULNHRXWRQP\RZQDQGSURPLVHGWREHWKHUHJXLGLQJ
DQGSURWHFWLQJPHDV DOZD\VDV,IDFHGWKHHQGOHVVFKDOOHQJHVRIODXQFKLQJDIXQG7RGD\P\
IXQGKDVHOHYHQHPSOR\HHVDQG,DPSURXGWREHRQHRIIHZHUWKDQDGR]HQZRPHQZKRUXQVD
VRIWZDUHIRFXVHGJURZWKHTXLW\ILUP

*RUGRQ KDVDQHDUQHVWGHVLUHWRXVHWKHLQIOXHQFHKHKDVJDLQHGWRPDNHDSRVLWLYHLPSDFWIRU
WKRVH KHWKLQNVKDYHSRWHQWLDOWRWDNHRQWKHLUSUREOHPVDQGVROYHWKHPDQGQDYLJDWHWKHPWR
VDIHW\7KLVXUJHLVQRWUHVWULFWHGWRWKRVHKHPHQWRUV,¶YHZDWFKHGKLPH[WHQGWKHVDPHVXSSRUW
WRFRXQWOHVVRIP\FROOHDJXHVWR\RXQJDWWRUQH\VKHPHWDWRWKHUILUPVDQG HYHQ WRVWUDQJHUV

7KLVXUJHOLNHO\PDJQLILHGE\WKHVXFFHVVKH KDVH[SHULHQFHG ZKHQIXOILOOLQJLW FDQSDUWLDOO\EH
H[SODLQHGDVELRORJLFDO,QDSURIHVVRUDW2[IRUG'U)LHOGPDQEHJDQVWXG\LQJWKH
ZLOOLQJQHVVRIKXPDQVWRSURWHFWWKRVHLQWKHLUIDPLOLHVRUFRPPXQLWLHV2YHUWKHIROORZLQJ
WZHQW\\HDUVWKRVHUHVXOWVKDYHEHHQFRQILUPHGE\VL[LQGHSHQGHQWVWXGLHV+XPDQV OLNH
YDPSLUHEDWV DUHDPRQJWKHRQO\VSHFLHVWKDWZLOOVDFULILFHWKHLURZQEHQHILWIRURWKHUVLQWKHLU
FRPPXQLW\DQGWKH\ZLOOGRDQGHQGXUHPRUHWKHPRUH JHQHWLFDOO\ UHODWHGWKH\DUHWRWKH
EHQHILWLQJSDUW\

, KDYHWZRGDXJKWHUVDQGILQGP\VHOIQDYLJDWLQJRQDGDLO\EDVLVWKH LQWULFDWH WLJKWURSHRI
OHWWLQJP\GDXJKWHUVOHDUQIURPWKHLUPLVWDNHVRU SURWHFWLQJWKHPIURPSRWHQWLDOO\KDUPIXO
PLVWDNHV,GUDZIURPOLIHH[SHULHQFHVWR GHWHUPLQHZKHQWRLQWHUYHQHDQGZKHQWRVWHSEDFN
$VWKHFKDLUPDQRIDWRSODZILUP*RUGRQVDZPRUHRIWKHGHHSHVWXJOLQHVVLQRXUZRUOGWKDQ
,¶YHHYHUVHHQ+LVVHWRIOLIHH[SHULHQFHVFRQWDLQVH[WUHPHVRIZKDWPRVWSDUHQWVKDYH
H[SHULHQFHG 7KHODVWWLPH,ZDVLQKLVRIILFHZHGLVFXVVHGWKH86$*\PQDVWLFV1DVVDU
VFDQGDO ,¶PDIRUPHUJ\PQDVWDQGP\GDXJKWHUVDUHLQJ\PQDVWLFV +HZDVVXUSULVHGDWP\
ZLOOLQJQHVVWROHWP\JLUOVGRJ\PQDVWLFVDQGFRQILGHGWKHDQ[LHW\KHIHOWKDYLQJKLVGDXJKWHU
DZD\IURPKRPHVRPXFK IRUKHUWHQQLVWUDLQLQJ:HWDONHGDORWDERXWKLVGDXJKWHUDQGLW
DSSHDUHGKHOLNHPHIHOWWRUQ DERXWKRZEHVWWREDODQFHKLVLQYROYHPHQW DVDSDUHQW

*RUGRQKDVJRQHWRJUHDWOHQJWKVWRWDNH DJLUOIURPVPDOOWRZQ2KLR PH  DQGSURSHOKHU
IRUZDUGLQWKHRIWHQYLFLRXVPDOHGRPLQDWHGZRUOGRIILQDQFHVLPSO\EHFDXVHKHVDZSRWHQWLDO
DQGZDQWHGWRVHHWKDWSRWHQWLDODFKLHYHG$QG\HW,KDYHQRUHODWLRQWR*RUGRQ*LYHQWKH
ELRORJLFDOXUJHSDUHQWV DUH GHVLJQHGWRKDYHWRSURWHFWWKHLURIIVSULQJ*RUGRQ¶VGHVLUHWRJRWR
JUHDWOHQJWKVWRSURWHFWKLVGDXJKWHUGRHVQRWVXUSULVHPH

)RUKLPWRFURVVWKHOLQHRIHWKLFVDQGPHULWRFUDF\KRZHYHUGRHV,WLVDWRWDOGHSDUWXUH IURP
HYHU\WKLQJKH¶VWDXJKWPHWKLVODVWGHFDGH$QG\HW$V$OH[DQGHU3RSHVRIDPRXVO\ZURWH³7R
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                                                -XVWLQ&KDUOHV(OOLRWW



$SULO

<RXU+RQRU

        ,KDYHNQRZQ*RUGRQ&DSODQVLQFHZKHQ,ZDVDQDVVRFLDWHLQWKHUHDOHVWDWHGHSDUWPHQWRI:LOONLH
)DUU *DOODJKHU//30\ILUVWLQWURGXFWLRQWR*RUGRQFDPHZKLOHZRUNLQJRQWKHUHDOHVWDWHFRPSRQHQWRID
FRUSRUDWHPDWWHUKHZDVRYHUVHHLQJ3ULRUWRP\GHSDUWLQJ:LOONLHLQ-DQXDU\,ZRUNHGZLWK*RUGRQRQD
QXPEHURIWUDQVDFWLRQVDQGLQP\H[SHULHQFHDOZD\VIRXQGKLPWREHVPDUWSUDJPDWLFDQGIRUWKULJKW
         'HVSLWH EHLQJ D &R&KDLUPDQ RI D ILUP ZLWK DSSUR[LPDWHO\  DWWRUQH\V D PHPEHU RI :LOONLH¶V
([HFXWLYH&RPPLWWHHDQGDSDUWQHULQDGLIIHUHQWGHSDUWPHQW KHSUDFWLFHGLQWKHFRUSRUDWHGHSDUWPHQW ,IRXQG
*RUGRQWR EH DSSURDFKDEOH DQGJHQHUDOO\ ZLOOLQJ WR PDNH WLPH WRVSHDN ZLWK PH ZKHWKHUUHJDUGLQJ DPDWWHU ,
ZDVZRUNLQJRQZLWKKLPP\FDUHHUJHQHUDOO\RUSHUVRQDOPDWWHUV'HVSLWHKLVEXV\VFKHGXOH,ZDVFRQVLVWHQWO\
LPSUHVVHG DQGSHUVRQDOO\ WRXFKHG E\ WKH WLPH KHPDGH IRU PH , YLHZHG *RUGRQ DV DQLQIRUPDO PHQWRU IRU D
QXPEHURI\HDUVXQWLOZHIRUPDOL]HGWKHUHODWLRQVKLSWKURXJKRQHRI:LOONLH¶VPHQWRULQJSURJUDPVDQGKHDJUHHG
WR VHUYH DV P\ IRUPDO PHQWRU ZKLFKGLGQ¶WDFWXDOO\FKDQJHRXUUHODWLRQVKLSEXW , ZDV KDSS\ WR NQRZ KHZDV
ZLOOLQJWRRIILFLDOO\WDNHRQWKDWUHVSRQVLELOLW\ 
         'XULQJP\WLPHDW:LOONLHDQGHYHQFRQWLQXLQJDIWHU,GHSDUWHG:LOONLHWREHFRPHDSDUWQHULQWKH1HZ
<RUNRIILFHRI.LUNODQG (OOLV//3ZHRIWHQVSRNHDERXWRXUIDPLOLHV ,UHFDOOVLWWLQJLQ*RUGRQ¶VRIILFHDQG
ORRNLQJ DURXQG WR WDNH VWRFN RI WKH PDQ\ GR]HQV RI IDPLO\ SKRWRV DGRUQLQJ KLV RIILFH *RUGRQ DOVR VKRZHGDQ
LQWHUHVWLQP\IDPLO\DQGKDVPHWP\ZLIHRQPXOWLSOHRFFDVLRQV2QRQHRIWKRVHRFFDVLRQVP\ZLIHZDVEULQJLQJ
RXUWKHQWZRPRQWKROGVRQWRWKHRIILFHDQGVKHZDONHGSDVW*RUGRQZKRZDVLQDPHHWLQJLQDFRQIHUHQFHURRP
,GRQ¶WNQRZZKDWKHZDVGLVFXVVLQJLQWKDWURRPEXW,GRNQRZWKDW*RUGRQVDZXVLQWKHKDOODQGGHFLGHGWR
WDNHWKHWLPHWRLQWHUUXSWZKDWKHZDVGRLQJZDONRXWRIWKHURRPDQGFRPHWRVHHP\ZLIHDQGP\VRQ
         3URIHVVLRQDOO\LQP\H[SHULHQFHZRUNLQJZLWK*RUGRQKHFRQGXFWHGKLPVHOIZLWKKRQHVW\,FDQUHFDOO
RQH LQVWDQFH ZKHUH KH ZDV ORRNLQJ WR PDNH D FKDQJH WR DQ DJUHHPHQW DQG ZKHQ WKH RWKHU VLGH TXHVWLRQHG
WKHFKDQJH *RUGRQ KDG WKH FKDQFH WR HLWKHU SURYLGH D QRQDQVZHU WR FRQFHDO KLV UHDO UHDVRQ IRU PDNLQJ WKH
FKDQJH ZKLFK,¶PFRQILGHQWWKHRWKHUVLGHZRXOGKDYHDFFHSWHGZLWKRXWXQGHUVWDQGLQJWKHFRQVHTXHQFHV  RU
WHOOWKHPKLVUHDOUHDVRQIRUWKHFKDQJHZKLFKZRXOGKDYHOHGWRDPRUHGLIILFXOWGLVFXVVLRQ*RUGRQHOHFWHGWR
WDNHWKHODWWHUDSSURDFKEHFDXVHKHZDQWHGHYHU\RQHWREHHQWHULQJLQWRWKHDJUHHPHQWZLWKWKHLUH\HVRSHQ
          ,UHDFKHGRXWDQGDVNHG*RUGRQLI,PD\ZULWHWKLVOHWWHURQKLVEHKDOIEHFDXVH,ZDQWHG\RXWRNQRZWKDW
LQDGGLWLRQWRZKDWHYHUHOVH\RXKDYHKHDUGDERXWKLPRUKDYHUHDGDERXWKLPZKHWKHUFRQFHUQLQJKLVQXPHURXV
SURIHVVLRQDO DFFRPSOLVKPHQWV LQ WKH WUDQVDFWLRQDO DUHQD RU KLV VXFFHVVIXOO\ DGYRFDWLQJ RQ EHKDOI RI SUR ERQR
FOLHQWV,ZDQWHGWRPDNHVXUH\RXNQHZWKDWLQP\GHDOLQJVZLWKKLPLQDGGLWLRQWRKLVDFFRPSOLVKPHQWV, IRXQG
KLP WR EH DQ KRQHVW FDULQJ IDPLO\ILUVW PDQ :KLOHRQRQHKDQG,¶PQRWVXUSULVHGWRKHDUWKDWKHZRXOGGR
DQ\WKLQJIRUKLVIDPLO\RQWKHRWKHUKDQG,ZDVJHQXLQHO\VKRFNHGWRKHDUDERXWKLVODSVHLQMXGJPHQWLQWKHFDVH
DWKDQG+HNQRZVKHKDVGRQHZURQJKHUHDQGKHDQGKLVIDPLO\ZLOOFHUWDLQO\VXIIHUWKHFRQVHTXHQFHVRIKLV
DFWLRQVIRUPDQ\\HDUVWRFRPHQRPDWWHUZKDWSXQLVKPHQWLVLPSRVHGXSRQKLP,KRSHWKDW\RXZLOOILQGWKDW
WKLVLQGLVFUHWLRQLVQRWUHSUHVHQWDWLYHRIZKR*RUGRQLVDQGDOORZKLPWRVSHQGDVPXFKWLPHDVSRVVLEOHPDNLQJ
XSIRUZKDWKHKDVGRQHZKLOHEHLQJWKHUHLQSHUVRQIRUKLVIDPLO\DQGKLVFRPPXQLW\LQFOXGLQJP\VHOI
        3OHDVH GR QRW KHVLWDWH WR UHDFK RXW LI , FDQ SURYLGH DQ\ DGGLWLRQDO LQIRUPDWLRQ , FDQ EH UHDFKHG DW
                                RU DW
                                                              5HVSHFWIXOO\VXEPLWWHG


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           Q >#<+ 8H !8;;8#< C55 #>*  #< # E#GI>+G #I G#N$L6
     O#8>+  CCG+  8> +O "CG:  #< OG8I8?5 QCM 8> HMEECGI C-
     <Q 5CC* 38+?* CG*C? #E;#>

              #< D>+ D- CG*C>H C;*+HI #>* );DH+HI 48+>*H !+ 2GHI <+I
     8> I6 5G#*+ )8G)#   O6+> CG*C> #>* 68H 0<8;Q <CN+* IC +O
     "CG: 8IQ 3C< #>#*# !+ $II+>*+* H)6CC; IC5+I6+G I6GCM56 I6+ +?*
     C- 6856 H)6CC; #>* 6#N+ G+<#8>+* );CH+ H8?)+ > #**8I8C? CMG
     .#<8;8+H O+G+ 38+>*H #?* 8? E#GI8)M;#G <Q <CI6+G O#H '+HI 38+?*H
     O8I6 CG*C>H ;#I+ <CI6+G #G8;Q>  I68B 8I 8H .&8G IC H#Q I6#I  :?CO
     CG*C> #H O+;; #H #;<CHI #>Q'C*Q O8I6 I6+ +P)+EI8C> C- 68H .#<8;Q
     <+<'+GH

             CG*C> 8H # N+GQ 8<ECGK#AJ E+GHC? 8> <#?Q E+CE;+H ;8N+H +
     5G+O ME 8> # ;CN8>5 /#<8;Q G#8H+* 'Q E#G+>IH O6C 8?HI8;;+* 8> 68< 5CC*
     N#;M+H + 8H # :8>* 5+>+GCMH #>* )#G8>5 E+GHC> + 8H ;CQ#; #?*
     5G+#I;Q G+HE+)I+* 'Q 68H E++GH + )#G+H #'CMI 68H .#<8;Q #>* 38+>*H
     #>* 8H # E+GHC> C>+ )#> )CMAI C> 8> I8<+H C- >++*

             8>)+ I6+ #GH8IQ ;M+H HICGQ 'GC:+  7#N+ '++? CN+GO6+;=+*
     'Q )#;;H +<#8;H #?* I+PIH 3C< CG*C>H 'GC#* ?+IOCG: C- 38+?*H
     )C;;+#5M+H #>* );8+>IH #;; O#>J8@5 IC :>CO 6CO I6+Q )#? HMEECGI 68<
      '+;8+N+ I68H 8H '+)#MH+ CG*C> 6#H HMEECGI+* #;; C- I6+< 8> *81+G+?I
     O#QH DN+G <#?Q R,%GH  5D /%G (#): O8I6 DG*D> HC  6#N+ <#?Q
     +P#<F;+H C- 68H <#5?#>8<CMH HE8G8I #>* 8I 8H 6#G* IC 6856;856I 9MHI #
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                                                                                             $SULO 


<RXU+RQRU

,¶YHQHYHUZULWWHQDOHWWHUOLNHWKLVEHIRUHVR SOHDVH H[FXVH PHLILWLVQRWLQWKH IRUP\RX
DUH XVHGWR UHFHLYLQJ

*RUGRQ&DSODQKDVEHHQDWUXVWHGIULHQGDQGFRQILGDQWWRPHVLQFHZHPHWIUHVKPDQ
\HDU DW &RUQHOO 8QLYHUVLW\ :H¶YH VSHQW PDQ\ KRXUV VWXG\LQJ SOD\LQJ VSRUWV WDONLQJ
DERXWRXUJLUOIULHQGVWDONLQJDERXWRXUIDPLOLHVWDONLQJDERXWRXUIXWXUHDQGWKH OLYHVZH
ZRXOGKDYHRQFHZHJUDGXDWHGIURP&RUQHOO

$IWHUXQLYHUVLW\*RUGRQZHQWRQWRVWXG\ODZZKLOH,ZHQWRQWRMRLQWKHZRUNIRUFH:H
KDYH YHU\ GLIIHUHQW FDUHHU SDWKV \HW ZH KDYH VR PXFK LQ FRPPRQ ZLWK WKH ORYH DQG
VXSSRUW RI RXU IDPLOLHV DQG IULHQGV DQG WKH PDQ\ H[SHULHQFHV ZH VKDUHG DV \RXQJ
PHQ

+H KDVEHHQ OLNHDEURWKHUWRPHLQIDFWKHZDVP\IUDWHUQLW\EURWKHUDQGZDVWKHUHIRU
PHZKHQ,ORVWP\RZQ EURWKHULQ*RUGRQDQGKLVIDPLO\KHOSHGP\PRWKHUDQG,
GXULQJDYHU\GLIILFXOWWLPHLQRXUOLYHVE\RSHQLQJWKHLUKRPHDQGKHDUWV WRXV *RUGRQ
ZDV LQFUHGLEO\ NLQG JHQHURXV DQG VHOIOHVV , QRZ ZDQW WR KHOS *RUGRQ GXULQJ D YHU\
GLIILFXOWWLPHIRUKLPDQGKLVIDPLO\

3OHDVH NQRZ WKDW *RUGRQ LV D YHU\ FDULQJ FKDULWDEOH DQG OR\DO PDQ +H LV FRPSOHWHO\
GHGLFDWHGWR KLVIULHQGVDQGHVSHFLDOO\WRKLVIDPLO\EXWLQQRZD\ZRXOGKLVLQWHQWLRQEH
WR KXUW WKHP *RUGRQ KDV PDGH D PLVWDNH KH OHW KLV IDPLO\ GRZQ DQG , NQRZ KRZ
KHDYLO\WKLVZLOOZHLJKRQKLP

,KRSH\RXZRXOGWDNHLQWRFRQVLGHUDWLRQWKDW*RUGRQKDVPXFKWRRIIHUDQGFRQWULEXWH
QRW RQO\ WR KLVIDPLO\ DQG IULHQGV EXW DOVR WR VRFLHW\ RQ WKH ZKROH , KRSH \RX ZLOO EH
DEOH WR VHHEH\RQGKLVPLVWDNH DQG VHH WKH WUXH NLQG DQG FRPSDVVLRQDWH SHUVRQ WKDW
*RUGRQLVDQGWKDWZHDOONQRZDQGORYH

,DPFRQILGHQWKHZLOO QHYHUGRDQ\WKLQJWREULQJKLPVHOIEDFNEHIRUH\RXU+RQRUDQG
DVNWR EHOHQLHQWRQDYHU\JRRGPDQZKRPDGHDPLVWDNHRXWRIPLVJXLGHGORYHIRUKLV
GDXJKWHU

6LQFHUHO\
5XVVHOO 7 +HUQDQGH]
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                                                                                                                                        Ɖƌŝůϭϴ͕ϮϬϭϵ

zŽƵƌ,ŽŶŽƌ͕

/͛ŵǁƌŝƚŝŶŐƚŚŝƐůĞƚƚĞƌƚŽǇŽƵŽŶďĞŚĂůĨŽĨŵǇĨƌŝĞŶĚ͕ŵĞŶƚŽƌĂŶĚďƵƐŝŶĞƐƐĂƐƐŽĐŝĂƚĞ'ŽƌĚŽŶĂƉůĂŶ͘/ŵĞƚ
'ŽƌĚŽŶĂƉƉƌŽǆŝŵĂƚĞůǇϭϬǇĞĂƌƐĂŐŽ͘,ĞĂƐƐŝƐƚĞĚĂŶĚŵĞŶƚŽƌĞĚŵĞŝŶƚŚĞĚĂǇƚŽĚĂǇŽƉĞƌĂƚŝŽŶƐĂŶĚƉƌŽǀŝĚĞĚ
ůĞŐĂůĂĚǀŝĐĞĨŽƌƐĞǀĞƌĂůŽĨŵǇĐŽŵƉĂŶŝĞƐ͘,ĞĂůƐŽƌĞƉƌĞƐĞŶƚĞĚŵǇĐŽŵƉĂŶŝĞƐŝŶŶƵŵĞƌŽƵƐŵĞƌŐĞƌƐĂŶĚ
ĂĐƋƵŝƐŝƚŝŽŶƐ͘

dŚĞĨŝƌƐƚƐĞǀĞƌĂůǇĞĂƌƐ'ŽƌĚŽŶĂŶĚ/ŚĂĚĂƐƚƌŝĐƚďƵƐŝŶĞƐƐƌĞůĂƚŝŽŶƐŚŝƉ͘KǀĞƌƚŝŵĞ͕ǁĞďƵŝůƚĂĐůŽƐĞƉĞƌƐŽŶĂů
ƌĞůĂƚŝŽŶƐŚŝƉŽƵƚƐŝĚĞŽĨǁŽƌŬ͘tĞƌĞŐƵůĂƌůǇŵĞƚǁŚĞŶ/ƚƌĂǀĞůĞĚƚŽEĞǁzŽƌŬĂŶĚĚŝƐĐƵƐƐĞĚŽƵƌĨĂŵŝůŝĞƐĂŶĚ
ŽƵƌŬŝĚ͛ƐƚĞŶŶŝƐƚŽƵƌŶĂŵĞŶƚƐ͘,ĞŽĨƚĞŶƚĂůŬĞĚĂďŽƵƚŚŽǁƉƌŽƵĚŚĞǁĂƐŽĨŚŝƐĚĂƵŐŚƚĞƌ͛ƐƚĞŶŶŝƐĂŶĚŚŝƐ
ƌĞůĂƚŝŽŶƐŚŝƉǁŝƚŚŚŝƐǁŝĨĞ͘

^ĞǀĞƌĂůǇĞĂƌƐďĂĐŬ/ŚĂĚĂƐĞƌŝŽƵƐĨĂŵŝůǇŝƐƐƵĞĂŶĚ/ĐĂůůĞĚ'ŽƌĚŽŶďĞĐĂƵƐĞ/ƌĞƐƉĞĐƚĞĚŚŝƐŽƉŝŶŝŽŶĂŶĚ
ĂĚǀŝĐĞ͘/ǁĂƐĂƐŝŶŐůĞƉĂƌĞŶƚǁŝƚŚƐŽůĞĐƵƐƚŽĚǇŽĨƚŚƌĞĞďŽǇƐĂŶĚ                                                                                                                    
                                                                                                                                                                                   
                                                                                                         
       ,ĂǀŝŶŐĞǆŚĂƵƐƚĞĚĂůůĂǀĞŶƵĞƐĂŶĚŽƉƚŝŽŶƐ͕/ĚĞĐŝĚĞĚƚŽĐĂůů'ŽƌĚŽŶĂŶĚĂƐŬĨŽƌŚĞůƉ͘/ĂůǁĂǇƐƚƌƵƐƚĞĚ
'ŽƌĚŽŶ͛ƐĂĚǀŝĐĞĂŶĚ/ŬŶĞǁ/ĐŽƵůĚƌĞĂĐŚŽƵƚƚŽŚŝŵĂƐĂĨƌŝĞŶĚ͘tĞƐƉĞŶƚŵĂŶǇĚĂǇƐĂŶĚŚŽƵƌƐŽŶƚŚĞƉŚŽŶĞ
ƚŽŐĞƚŚĞƌƐƚƌĂƚĞŐŝǌŝŶŐ                                                      dŚĞĂĚǀŝĐĞŚĞŐĂǀĞŵĞŚĞůƉĞĚƐĂǀĞ
         ĨƌŽŵǁŚĂƚĐŽƵůĚŚĂǀĞďĞĞŶĂƚƌĂŐŝĐĞŶĚŝŶŐ͘           ƐƚĂƌƚĞĚƚŽŵĂŬĞƉŽƐŝƚŝǀĞĐŚĂŶŐĞƐ͘,ĞƌĞĐĞŶƚůǇ
ŐƌĂĚƵĂƚĞĚĨƌŽŵƚŚĞhŶŝǀĞƌƐŝƚǇŽĨůĂďĂŵĂǁŝƚŚƐƚĞůůĂƌŐƌĂĚĞƐ͘,ĞƐƚĂƌƚĞĚǁŽƌŬŝŶŐĂƚĂƚĞĐŚŶŽůŽŐǇŝƐƚƌŝďƵƚĞƌ
ŝŶ^ǇĚŶĞǇ͕ƵƐƚƌĂůŝĂĂŶĚŵŽǀĞĚƚŚĞƌĞŽǀĞƌĂǇĞĂƌĂŐŽ͘,ĞŚĂƐŶŽǁŐŽŶĞĐŽŵƉůĞƚĞůǇƐƚƌĂŝŐŚƚ͕ŝƐŽĨĨĂůů
ƐƵďƐƚĂŶĐĞƐĂŶĚŝƐĞǆĐĞůŝŶŐŝŶŚŝƐůŝĨĞĂŶĚĐĂƌĞĞƌ͘dŚŝƐǁŽƵůĚŶŽƚŚĂǀĞŚĂƉƉĞŶĞĚǁŝƚŚŽƵƚƚŚĞŚĞůƉŽĨ'ŽƌĚŽŶ͘ 

tŚĞŶ/ĨŽƵŶĚŽƵƚƚŚĂƚ'ŽƌĚŽŶǁĂƐĂĐĐƵƐĞĚŽĨĂŶĚŚĂĚƉůĞĂĚŐƵŝůƚǇƚŽŝůůĞŐĂůůǇŚĞůƉŝŶŐŚŝƐĚĂƵŐŚƚĞƌ͕/ŚĂĚƚŽ
ĞǆĂŵŝŶĞŵǇŽǁŶůŝĨĞ͘dŚĞĨŝƌƐƚƚŚŝŶŐ/ƚŚŽƵŐŚƚŽĨǁĂƐƚŚĂƚŶŽŵĂŶŝƐƉĞƌĨĞĐƚĂŶĚƚŚĂƚǁĞŚĂǀĞĂůůŵĂĚĞ
ŵŝƐƚĂŬĞƐ͘ǇƚŚĞŐƌĂĐĞŽĨ'ŽĚŐŽĞƐ/ĂŶĚƚŚĂŶŬƚŚĞ>ŽƌĚ/ǁĂƐŶŽƚŝŶŚŝƐƉŽƐŝƚŝŽŶ͘/ǁŝůůĂůǁĂǇƐďĞŐƌĂƚĞĨƵůĨŽƌ
'ŽƌĚŽŶ͛ƐĨƌŝĞŶĚƐŚŝƉĂŶĚŚŽǁŚĞŚĞůƉĞĚŵĞǁŚĞŶ/ǁĂƐƐĞǀĞƌĞůǇƐƚƌƵŐŐůŝŶŐǁŝƚŚ                 /ǁŽƵůĚďĞŵŽƌĞƚŚĂŶ
ǁŝůůŝŶŐƚŽĂƉƉĞĂƌŽŶŚŝƐďĞŚĂůĨĂƐŚĞŚĂƐĚŽŶĞŝŶĐƌĞĚŝďůĞƚŚŝŶŐƐĨŽƌŵĞĂŶĚŵǇĨĂŵŝůǇ͘/͛ŵĂƐŬŝŶŐƚŚĞĐŽƵƌƚƚŽ
ƉůĞĂƐĞĐŽŶƐŝĚĞƌƚŚĞĨƵůůďŽĚǇŽĨ'ŽƌĚŽŶ͛ƐůŝĨĞĂŶĚƚŚĞƐĞƌǀŝĐĞƚŚĂƚŚĞŚĂƐƐĞůĨůĞƐƐůǇƉĞƌĨŽƌŵĞĚĨŽƌŵǇƐĞůĨĂŶĚ
ŽƚŚĞƌƐŝŶŽƵƌĐŽŵŵƵŶŝƚŝĞƐ͘'ŽƌĚŽŶŝƐĂŐŽŽĚŵĂŶĂŶĚ/ǁŝůůĂůǁĂǇƐďĞŐƌĂƚĞĨƵůĨŽƌŚŝƐŚĞůƉ͘ 

dŚĂŶŬǇŽƵĨŽƌǇŽƵƌƚŝŵĞĂŶĚĐŽŶƐŝĚĞƌĂƚŝŽŶ͘ 

^ŝŶĐĞƌĞůǇ͕

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WƌĞƐŝĚĞŶƚĂŶĚK
dŚǇĐŽƚŝĐ^ŽĨƚǁĂƌĞ͕>>

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April 25, 2019


To Whom It May Concern:

        I was introduced to Gordon through a contact in my professional network, as I was
seeking a paralegal position before applying to law school. I told him about my background as a
first-generation college graduate, how I was interested in becoming a lawyer and how I wanted
an opportunity to work hard and prove myself in the real world. He was very receptive and
understanding and fully supported me throughout my interview. During and since my time at
Willkie, Gordon has been an important mentor in my life, offering his guidance on everything
from law school to professional development.

I began working at Willkie right after my graduation from Princeton in 2016. While at Willkie, I
worked on various projects, including corporate deals as well as pro-bono matters. Although we
were both very busy, I made sure to update him about how things were going and how much I
was enjoying my time at Willkie. I was occasionally staffed on a few of his projects alongside
other associates, and I always made sure to put my best work. I would volunteer to do additional
research for him and made sure to follow through with my responsibilities. As I was gearing up
to begin applying to law school, I spoke to him about where I was applying as well as my future
career plans. One thing that stood out to me was his encouragement that I consider applying to
Fordham Law School and how he enjoyed his time there. He highlighted the “practice-ready”
nature of the school and the strong alumni network in New York City. Whenever I ran into
Gordon, he would always urge me to consider Fordham Law and to visit the school. I took his
advice and visited the school, and he was right. After I applied to law school and thought about
my career pathway, Gordon continued to provide career guidance and advice on law school,
emphasizing the importance of client relationship and hard work. In the Spring of 2018, as
decisions came in, I gleefully shared my acceptance to Fordham Law with him and immediately
committed. I was excited for a new opportunity at Fordham and aspired to return and work for
Gordon.

        During my two years at Willkie, I looked up to Gordan Caplan and he was an important
mentor who constantly provided me with law school and career advice. He gave an opportunity
to work hard and learn more about becoming a lawyer. No matter how busy he was, he was
willing to speak with me and ask me about how I was coming along. He gave me an inside look
into the world of lawyering as well as the business world. Although we both come from very
different worlds, he listened to my story and helped achieve my American Dream of one day
helping my family and serving my community as an attorney for change.

Respectfully yours,



Kevin Lopez
Fordham Law ’21
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ƚŚĂƚĨŽĐƵƐĞƐŽŶŝŶǀĞƐƚŝŶŐŝŶƐŽĨƚǁĂƌĞďƵƐŝŶĞƐƐĞƐ͘

/ŚĂǀĞŬŶŽǁŶ'ŽƌĚŽŶĂƉůĂŶƐŝŶĐĞϮϬϬϮ͕ǁŚĞŶŚĞǁĂƐĂǇŽƵŶŐůĂǁǇĞƌĂƚtŝůůŬŝĞ&ĂƌƌΘ'ĂůůĂŐŚĞƌ͕ĂůĂǁ
ĨŝƌŵƚŚĂƚĚŽĞƐŵƵĐŚŽĨƚŚĞůĞŐĂůǁŽƌŬĨŽƌŵǇĨŝƌŵ͘&ŽƌƚŚĞƉĂƐƚϭϳǇĞĂƌƐ͕/ĚŽŶ͛ƚƌĞĐĂůůĨŝǀĞĚĂǇƐƉĂƐƐŝŶŐ
ŝŶǁŚŝĐŚ'ŽƌĚŽŶĂŶĚ/ĚŝĚŶŽƚƐƉĞĂŬ͘

KŶĂƉƌŽĨĞƐƐŝŽŶĂůůĞǀĞů͕'ŽƌĚŽŶŝƐŽŶĞŽĨƚŚĞŵŽƐƚƚĂůĞŶƚĞĚůĂǁǇĞƌƐ/ŚĂǀĞǁŽƌŬĞĚǁŝƚŚ͘/ŶŵĂƚƚĞƌƐ
ƌĂŶŐŝŶŐĨƌŽŵĚĞĂůƐƚƌĂƚĞŐǇƚŽĞƚŚŝĐƐ͕'ŽƌĚŽŶǁŽƵůĚďĞƚŚĞĨŝƌƐƚƉĞƌƐŽŶ/ƐŽƵŐŚƚĐŽƵŶƐĞů͘DŽƐƚŽĨƚŚĞ
ŵĂƚƚĞƌƐǁĞĚŝƐĐƵƐƐĞĚǁŽƵůĚƵůƚŝŵĂƚĞůǇďŽŝůĚŽǁŶƚŚĞƋƵĞƐƚŝŽŶ͞ǁŚĂƚŝƐƚŚĞƌŝŐŚƚƚŚŝŶŐƚŽĚŽŝŶƚŚŝƐ
ĐŝƌĐƵŵƐƚĂŶĐĞ͍͟/ŶƚŚĞĐŽŶƚĞǆƚŽĨƌĞĂĐŚŝŶŐĨĂŝƌĂŶĚƐƵĐĐĞƐƐĨƵůŽƵƚĐŽŵĞƐ͕/ĐĂŶƐĂǇǁŝƚŚŽƵƚĨĂŝů͕ƚŚĂƚ
'ŽƌĚŽŶĐŽŶƐŝƐƚĞŶƚůǇŬĞƉƚŵĞŽŶƚŚĞƌŝŐŚƚƉĂƚŚĂŶĚƵŶŝĨŽƌŵůǇĐŽŶĚƵĐƚĞĚŚŝŵƐĞůĨ͕ĂŶĚĂĚǀŝƐĞĚŵĞƚŽ
ĐŽŶĚƵĐƚŵǇƐĞůĨ͕ŝŶĂĨĂŝƌĂŶĚĞƚŚŝĐĂůŵĂŶŶĞƌ͘

KŶĂƉĞƌƐŽŶĂůůĞǀĞů͕'ŽƌĚŽŶŝƐƚŚĞƚǇƉĞŽĨƉĞƌƐŽŶǁŚŽŐŽĞƐĐŽŵƉůĞƚĞůǇŽƵƚŽĨŚŝƐǁĂǇƚŽŚĞůƉĂŶǇŽŶĞŝŶ
ŶĞĞĚŝƌƌĞƐƉĞĐƚŝǀĞŽĨƚŚĞŝƌĐŝƌĐƵŵƐƚĂŶĐĞ͘dŚĞďĞƐƚǁĂǇ/ĐĂŶĚĞƐĐƌŝďĞƚŚŝƐŝƐƚŚƌŽƵŐŚĂŶĞǆĂŵƉůĞ͘ďŽƵƚ
ƚǁŽǇĞĂƌƐĂŐŽ͕ĂŶ/ƌĂŶŝĂŶǁŽŵĂŶ͕ŶĂŵĞĚ&ĂŚŝŵĞŚ<ĂƐŚŬŽŽůŝ͕ŶĞĞĚĞĚƚŽŐĞƚŚĞƌĚĂƵŐŚƚĞƌŝŶƚŽƚŚĞ
hŶŝƚĞĚ^ƚĂƚĞƐ͘,ĞƌĚĂƵŐŚƚĞƌ͕     <ĂƐŚŬŽŽůŝ͕ŚĂĚĂĚĞďŝůŝƚĂƚŝŶŐĞǇĞƉƌŽďůĞŵĂŶĚǁĂƐĞƐƐĞŶƚŝĂůůǇŐŽŝŶŐ
ďůŝŶĚ͘   ŶĞĞĚĞĚĂĐĐĞƐƐƚŽh^ĚŽĐƚŽƌƐĂŶĚŵĞĚŝĐŝŶĞ͘

tŝƚŚŽƵƚĂŶǇŽďůŝŐĂƚŝŽŶƚŽĚŽƐŽĂŶĚǁŝƚŚŽƵƚĂŶǇĨŽƌŵŽĨƉƵďůŝĐƌĞĐŽŐŶŝƚŝŽŶ͕'ŽƌĚŽŶŵĂŶĂŐĞĚƚŽŐĞƚ
      ŝŶƚŽƚŚĞhŶŝƚĞĚ^ƚĂƚĞƐĂŶĚĂĐĐĞƐƐƚŽĂƚŽƉͲƌĂƚĞĚĞǇĞƐƵƌŐĞŽŶǁŚŽǁĂƐĂďůĞƚŽĐŽƌƌĞĐƚŚĞƌĚŝƐĞĂƐĞ͘
dŚŝƐǁĂƐĂĐŽŵƉůŝĐĂƚĞĚƉƌŽĐĞƐƐƚŚĂƚŶĞĞĚĞĚƐŽŵĞŽŶĞĐĂƉĂďůĞŽĨŚĂŶĚůŝŶŐĂŶĚƐŽůǀŝŶŐĐŽŵƉůĞǆ
ƉƌŽďůĞŵƐ͘dŚĞƌĞǁĞƌĞƐĞǀĞƌĂůƉŽŝŶƚƐĂůŽŶŐƚŚĞƚŝŵĞůŝŶĞǁŚĞŶŝƚůŽŽŬĞĚůŝŬĞ     ǁŽƵůĚŶŽƚďĞĂůůŽǁĞĚ
ŝŶƚŽƚŚĞĐŽƵŶƚƌǇ͘/ĨƐŚĞĚŝĚŶŽƚŚĂǀĞ'ŽƌĚŽŶŽŶŚĞƌƐŝĚĞ͕ƐŚĞƵŶĚŽƵďƚĞĚůǇǁŽƵůĚďĞďůŝŶĚƚŽĚĂǇ͘

ŶĚĨŝŶĂůůǇ͕ŶŽƚŚŝŶŐŝƐŵŽƌĞŝŵƉŽƌƚĂŶƚƚŽ'ŽƌĚŽŶƚŚĂŶŚŝƐĨĂŵŝůǇ͘,ĞŝƐĂĚĞǀŽƚĞĚĨĂƚŚĞƌĂŶĚŚƵƐďĂŶĚ͘/
ŽŶĐĞƌĞĂĚƐŽŵĞƚŚŝŶŐ/ďĞůŝĞǀĞƚŽďĞƚƌƵĞ͗ϵϱйŽĨďĞŝŶŐĂŐŽŽĚƉĂƌĞŶƚŝƐƚŚĞƐŝŶĐĞƌĞĂĐƚŽĨďĞŝŶŐƚŚĞƌĞ
ĂŶĚƚƌǇŝŶŐ͘zŽƵǁŽŶ͛ƚĂůǁĂǇƐŐĞƚŝƚƌŝŐŚƚďƵƚŝƚŝƐŝŵƉŽƌƚĂŶƚƚŚĂƚŬŝĚƐŬŶŽǁƚŚĞŝƌƉĂƌĞŶƚƐĐĂƌĞ͘/ŚĂǀĞ
ǁĂƚĐŚĞĚďŽƚŚŽĨ'ŽƌĚŽŶ͛ƐĐŚŝůĚƌĞŶ͕         ĂŶĚ      ͕ŐƌŽǁƵƉ͘/ďĞůŝĞǀĞƚŚĂƚďŽƚŚŽĨƚŚĞŵĂƌĞŐƌĞĂƚŬŝĚƐ͗
dŚĞǇĂƌĞǁĞůůďĂůĂŶĐĞĚ͕ƚŚŽƵŐŚƚĨƵů͕ĂŶĚĐŽŵƉĂƐƐŝŽŶĂƚĞ͘dŚŝƐŝƐƚŚĞƵůƚŝŵĂƚĞƚĞƐƚĂŵĞŶƚƚŽ'ŽƌĚŽŶĂŶĚ
ŚŝƐǁŝĨĞ͘/ŶŵĂŶǇǁĂǇƐ͕'ŽƌĚŽŶ͛ƐĐŚŝůĚƌĞŶĂƌĞĂĚŝƌĞĐƚƌĞĨůĞĐƚŝŽŶŽĨŚŝŵ͘

KǀĞƌƚŚĞĐŽƵƌƐĞŽĨŵǇůŝĨĞƚŝŵĞ͕ǁŚĞƚŚĞƌŝŶŵǇƉƌŽĨĞƐƐŝŽŶĂůĐĂƌĞĞƌŽĨϮϯǇĞĂƌƐŽƌŽƚŚĞƌǁŝƐĞ͕/ŚĂǀĞ
ŬŶŽǁŶĂŶĚǁŽƌŬĞĚǁŝƚŚŵĂŶǇĚŝĨĨĞƌĞŶƚƉĞŽƉůĞ͘/ĐĂŶƐĂǇǁŝƚŚĐŽŶĨŝĚĞŶĐĞƚŚĂƚ'ŽƌĚŽŶĂƉůĂŶƌĂŶŬƐ
ĂŵŽŶŐƚŚĞƚŽƉŽĨƚŚĞƉĞŽƉůĞƚŚĂƚ/ŚĂǀĞŬŶŽǁŶǁŝƚŚƌĞŐĂƌĚƚŽŝŶƚĞŐƌŝƚǇ͕ĐŚĂƌĂĐƚĞƌ͕ĂŶĚƉŽƐŝƚŝǀĞ͕ůĂƐƚŝŶŐ
ŝŵƉĂĐƚŽŶƚŚĞĐŽŵŵƵŶŝƚǇ͘

/ĂŵŚĂƉƉǇƚŽƉƌŽǀŝĚĞĂŶǇĨƵƌƚŚĞƌĚĞƚĂŝůƚŚĂƚǇŽƵƌĞƋƵŝƌĞ͘

dŚĂŶŬƐ͕

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DŝŬĞdƌŝƉůĞƚƚ
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  8QGHU6HDO
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